                       Case 25-10308       Doc 596     Filed 07/16/25    Page 1 of 6
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                                                   July 15, 2025
                                            T*
    VIA FEDEX
    Mr. Mark A. Neal
    Clerk of the Bankruptcy Court
    U.S. Bankruptcy Court lor the District of Maryland (Baltimore Division)
    l0l West Lombard Street, Suite 8530
    Baltimore, Maryland 2 I 20 I

           Re:       In re Diamond Conic Distributors, Inc., et a1.,25-10308 (DER) Objection to
                     the Debtors' Motion for Entrv of an Order Approving (I) Procedures for
                     Sale or other Disposition of Consigned Inventory, (Il) Approving Sales of
                     Other Disposition of Consigned lnventorv Free and Clear of Liens, Claims,
                     Interests or Encumbrances and (lII) Granting Related Relief

    Dear Clerk of Court

            We represent Wiltiam M. Gaines, Agent, Inc. ("Gaines Agent"), a creditor in the above-
    referenced action. We submit this objection to the Debtor's Motion for Entry of an Order.
    referenced above, pursuant to the Notice received on June 26, 2025. (D.I. 538).

            Gaines Agent hereby objects to the entry ofan Order disposing ofany inventory that may
    be in the Debtors'possession, custody or control, but is actually owned by Gaines Agent.
    Gaines Agent maintains a proprietary interest in the inventory that is the subject of the motion.

             As background, in March 201 I Gemstone Publishing Inc. and Diamond Comic
    l)istributors Inc. ( jointly, "Debtors") entered into a set(lement agreement with Gaines Agent.
    that transferred all right, title and interest in ccrtain inventory. An executed copy of the 201 I
    Settlement Agreement will be submitted to the Court upon request. An inventory report of the
    items in Debtors' possession that are owned by Gaines Agent are hereto attached as Exhibit A.

           Therefore, the Debtors'may not dispose ofor sell the inventory subject to the 201 I
    Settlement Agreement and Gaines Agent rcspectfully requests that any order issued by the Court
    upon the Debtors' Motion explicitly exclude the inventory that is subject of the 201 I Settlement
    Agreement.

                We thank the Clerk olCourt for his consideration of and prompt attention to this
    objcction




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   ^ LADAS
  &PARRY
Mark A. Neal                                                                       Page 2
July 15, 2025

                                         Respectlully submitted,

 Ladas & Parry LLP



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         Attorneys /br William M. Gaines,
         Agent, Inc.

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Nicholas Smargiassi
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Counsel.for Debtors and Debtors in Possession
                                  Case 25-10308               Doc 596       Filed 07/16/25                  Page 3 of 6




                                                                  EXHIBIT A
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